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                              AFFIDAVIT IN SUPPORT OF
                         CRIMINAL COMPLAINT AND WARRANT

             I, Peter Ratz, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I, Peter Ratz, am a Special Agent with the United States Department of Justice,

Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) and have been since March 2019.

Prior to my employment with ATF, I was employed as a Special Agent with the Diplomatic

Security Service for five years and prior to that served honorably in the United States Navy for

eight years. I am a graduate of the Criminal Investigator Training Program and the Special

Agent Basic Training Program at the Federal Law Enforcement Training Center (FLETC) in

Glynco, Georgia. I am currently assigned to a specialized enforcement group, the ATF Group VI

Violent Crimes Task Force, whose primary mission is to investigate those individuals and groups

that are engaged in the commission of federal firearms and narcotics violations.

       2.      During my tenure as an ATF agent, I have participated in many investigations

pertaining to violations of federal law being committed by violent offenders and criminal

organizations, including robberies, drug offenses, kidnapping and firearms offenses.

       3.      The information contained in this affidavit is based upon my investigation of this

matter and on information relayed to me by other special agents and/or other law enforcement

officers, official reports of law enforcement, and my review of the investigating officer’s body

worn camera recordings. Because this affidavit is being submitted for the limited purpose of

securing an arrest warrant for ALFONZO WHITE, I have not included every fact known to me

concerning this investigation. I have set forth only the facts that I believe are necessary to

establish probable cause for WHITE’s arrest.



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       4.      As described in detail below, I submit there is probable cause to believe that

ALFONZO WHITE has violated Title 18, United States Code, Section 922(g)(1), which

criminalizes possession of a firearm by a convicted felon.

                                      PROBABLE CAUSE

       5.      On May 14, 2021, at approximately 12:15 p.m., Philadelphia Police Department

(PPD) officers DiPaolo and Assad responded to a radio call for males armed with guns around

1400 North Hobart Street in West Philadelphia. Multiple PPD officers arrived on scene and the

crowd dispersed without incident.

       6.      At approximately 1:40 p.m., PPD officers DiPaolo and Assad returned to the area

of 1400 North Hobart Street in their marked police car and observed a group of males in the

middle of the block. The officers watched three males break off from the group in the middle of

the block and walk southbound on Hobart Street. Officers made eye contact with one of the

males, later identified as WHITE, and observed him clench his right front pants pocket, causing

both officers to believe the WHITE was trying to conceal a firearm he carried in his pants. The

officers drove around the block and stopped at the corner of Master and North Hobart Streets

where an unknown female from a daycare facility located there approached their car. The female

asked the officers to remain in the area because she was going to release the children for the day,

and she was concerned about the crowd of males on the block that had been active there for most

of the day.

       7.      The officers turned northbound on North Hobart Street and saw the same group of

three males mid-block on 1400 North Hobart Street and again observed WHITE clench his right

front pants pocket, as if he were attempting to conceal his possession of a firearm. The officers

left their patrol car and approached WHITE. Based on his belief that WHITE had a firearm,



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Officer DiPaolo pointed his Taser at WHITE and instructed him to not move and to raise his

hands. Officer Assad patted WHITE’s right front pants pocket and immediately felt a firearm.

Officer Assad then handcuffed WHITE and recovered a Remington, model R51, 9mm pistol

bearing serial number H020678R51, loaded with seven rounds of ammunition from WHITE’s

right front pants pocket. As a result, officers arrested WHITE.

       8.      As part of investigation, I reviewed the officer’s body worn camera footage of

their approach and arrest of WHITE. The video is consistent with the officers’ description of

what they saw and the actions they took. Specifically, the footage shows WHITE grabbing at his

pants in the manner described by the officers. It also shows Officer Assad find the firearm

exactly where WHITE was reaching.

       9.       The Remington, model R51, 9mm pistol and seven rounds of ammunition were

retained as evidence and examined by the PPD Firearms Identification Unit. The pistol was test

fired and found to be operable. An ATF Firearms Nexus Expert determined that the pistol was

not manufactured in the Commonwealth of Pennsylvania. In my training and experience, this

pistol is a “firearm” under federal law under 18 U.S.C. § 921(a)(3), and it traveled in interstate

commerce to reach the Commonwealth of Pennsylvania.

       10.     Based on my investigation, I know that ALFONZO WHITE is a convicted felon

who is legally prohibited from possessing firearms and ammunition.

               a. On November 20, 2012, the defendant was arrested in Philadelphia and

                   charged with felony narcotics and conspiracy violations. WHITE pleaded

                   guilty and on September 5, 2013, was sentenced to 5 years of probation. (CP-

                   51-CR-0014657-2012).




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    b. On July 4, 2013, the defendant was arrested in Philadelphia and charged with

       felony narcotics violations. WHITE pleaded guilty and on September 5, 2013,

       was sentenced to 2 years of probation. (CP-51-CR-0009892-2013).

    c. On May 21, 2014, the defendant was arrested in Dover, Delaware and charged

       with felony firearms violations. WHITE was convicted and on March 1, 2017,

       was sentenced to 8 years confinement. (DUC #: 1405012722).

    d. On July 4, 2015, the defendant was arrested in Philadelphia and charged with

       felony narcotics violations. WHITE pleaded guilty and on October 28, 2015,

       was sentenced to 11.5 to 23 months confinement and 5 years’ probation. (CP-

       51-CR-0008918-2015).

    e. On March 23, 2016, the defendant was arrested in Philadelphia and charged

       with felony narcotics and conspiracy violations. WHITE pleaded guilty and

       on December 19, 2016, was sentenced to 11.5 to 23 months confinement and

       8 years’ probation. (CP-51-CR-0004392-2016).




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       11.    Based upon the facts stated herein, I respectfully submit there is probable cause to

believe that ALFONZO WHITE violated Title 18, United States Code, Section 922(g).

Accordingly, I respectfully request an arrest warrant be issued for ALFONZO WHITE.




                                                Respectfully submitted,

                                                   /s/ Peter Ratz
                                                   Peter Ratz, Special Agent
                                                   Bureau of Alcohol, Tobacco,
                                                   Firearms, and Explosives



Subscribed and sworn to before me on November 8, 2021



s/David R. Strawbridge_________________
HONORABLE DAVID R. STRAWBRIDGE
UNITED STATES MAGISTRATE JUDGE




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